 Case 16-20503        Doc 111     Filed 12/01/17 Entered 12/01/17 11:03:40           Desc Main
                                   Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MAINE


In re:
                                                 Case No. 16-20503
John O. Goodwin,
                                                 Chapter 13
                    Debtor.


                      NATIONSTAR MORTGAGE, LLC’S OBJECTION
                       TO DEBTOR’S AMENDED CHAPTER 13 PLAN

         Nationstar Mortgage, LLC, (“Nationstar”), by and through its attorney, objects to the

Debtor’s First Amended Chapter 13 Plan (the “Amended Plan”) to the extent that it does not

provide for full payment of Nationstar’s pre-petition arrearages and ongoing mortgage payments

owed to Nationstar.

         1.     Nationstar is a creditor of the Debtor and filed Proof of Claim No. 7 (the “Proof

of Claim”) in the amount of $302,998.32.

         2.     The Proof of Claim includes a pre-petition arrearage of $5,049.50.

         3.     The Debtor is also in arrears on the post-petition payments owed to Nationstar.

         4.     The Amended Plan does not provide for any payment to Nationstar during the

term of the plan.

         5.     Additionally, Maine Revenue Service and the Chapter 13 Trustee have objected to

and have raised feasibility concerns regarding the Amended Plan. Nationstar joins in those

concerns.

         6.     Accordingly, confirmation should be denied.
 Case 16-20503      Doc 111    Filed 12/01/17 Entered 12/01/17 11:03:40          Desc Main
                                Document     Page 2 of 2


       WHEREFORE, Nationstar respectfully requests that this Court (a) deny confirmation of

the Amended Plan in its current form; and (b) grant such further relief as this Court deems

necessary and appropriate.


Dated: December 1, 2017                           NATIONSTAR MORTGAGE, LLC

                                                  By its attorney:

                                                  /s/ Daniel P. Keenan, Esq.
                                                  Daniel P. Keenan, Esq.
                                                  BERNSTEIN, SHUR, SAWYER & NELSON
                                                  100 Middle St., PO Box 9729
                                                  Portland, Maine 04104-5029
                                                  Phone: (207) 774-1200
                                                  Email: dkeenan@bernsteinshur.com




                               CERTIFICATE OF SERVICE

       I, Daniel P. Keenan, Esq., being over the age of eighteen and an attorney at Bernstein,

Shur, Sawyer & Nelson, P.A. in Portland, Maine, hereby certify that, on December 1, 2017, I

caused Nationstar’s Objection to Debtor’s Amended Chapter 13 Plan to be filed via the Court’s

CM/ECF electronic filing system (“CM/ECF”), which sent notice to all parties receiving

notification through CM/ECF.



Dated: December 1, 2017                           /s/ Daniel P. Keenan, Esq.
                                                  Daniel P. Keenan, Esq.
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                                                  100 Middle St., PO Box 9729
                                                  Portland, Maine 04104-5029
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